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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 INDIANA STATE CONFERENCE OF THE                 )
 NATIONAL ASSOCIATION FOR THE                    )
 ADVANCEMENT OF COLORED PEOPLE                   )
 (NAACP),                                        )
 LEAGUE OF WOMEN VOTERS OF INDIANA,              )
                                                 )
                              Plaintiffs,        )
                                                 )
                           v.                    )         No. 1:17-cv-02897-TWP-MPB
                                                 )
 CONNIE LAWSON in her official capacity as       )
 Secretary of State for the State of Indiana,    )
 J. BRADLEY KING in his official capacity as Co- )
 Director, Indiana Election Division,            )
 ANGELA NUSSMEYER in her official capacity as )
 Co-Director, Indiana Election Commission        )
                                                 )
                              Defendants.        )



                              ORDER ON CASE MANAGEMENT PLAN

 I.    Parties and Representatives

       Plaintiffs

       A. Indiana State Conference of the National Association for the Advancement of
          Colored People (NAACP), and
          League of Women Voters of Indiana

       B. Myrna Pérez
          Jonathan Brater
          BRENNAN CENTER FOR JUSTICE
          AT NYU SCHOOL OF LAW
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          Trent@McCain.Law

       D. Sascha N. Rand
          Ellyde R. Thompson
          Ellison Ward Merkel
          Geneva McDaniel
          Alexandre J. Tschumi
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          51 Madison Avenue, 22nd Floor
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          Phone: (212) 849-7000
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          ellydethompson@quinnemanuel.com
          ellisonmerkel@quinnemanuel.com
          genevamcdaniel@quinnemanuel.com
          alexandretschumi@quinnemanuel.com

       Defendants

       A.      Connie Lawson, in her official capacity as Secretary of State of Indiana,
               J. Bradley King, in his official capacity as Co-Director of the Indiana Election
               Division, and
               Angela M. Nussmeyer, in her official capacity as Co-Director of the Indiana
               Election Division

       B.      Jefferson S. Garn
               Diana Lynn Moers Davis
               Kelly S. Witte
               Aleksandrina Penkova Pratt
               Matthew Richard Elliott
               Office of the Attorney General
               Indiana Government Center South



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              Diana.Moers@atg.in.go
              Kelly.Witte@atg.in.gov
              Aleksandrina.Pratt@atg.in.gov
              Matthew.Elliott@atg.in.gov

       Counsel shall promptly file a notice with the Clerk if there is any change in this
       information.

 II.   Jurisdiction and Statement of Claims

       A.     The parties shall state the basis for subject matter jurisdiction. If there is
              disagreement, each party shall state its position.

       B.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 & 1343,
              and 52 U.S.C. § 20510(b) as Plaintiffs allege that the actions of Defendants
              violated and continue to violate Section 8 of the National Voter Registration Act
              of 1933 (“NVRA”), 52 U.S.C. § 20501 et seq.

       C.     Plaintiffs contend that Defendants’ interpretation of Indiana Code § 3-7-38.2-
              5(d)–(e), as amended effective July 1, 2017, permits counties to remove a voter
              from the registration rolls based on a match in the Interstate Voter Registration
              Crosscheck Program (“Crosscheck”), without the requisite written confirmation
              from the voter, or the requisite notice and two federal election waiting period in
              which the voter is inactive. In this way, Defendants have violated the NVRA by
              failing to ensure compliance with the Act. Additionally, by permitting counties to
              remove voters from the roll based on unreliable information from the Crosscheck
              system, and by leaving counties with the discretion as to whether and how to
              conduct further investigations to ensure that the voter has in fact moved out of
              state, Defendants have also violated the NVRA by failing to maintain voter rolls
              in a manner that is reasonable, nondiscriminatory, and uniform.

       D.     Defendants contend that Federal law requires states to maintain accurate and
              current voter registration rolls, and to carry out any such voter list maintenance in
              a uniform, reasonable, and nondiscriminatory way. Indiana, in a continuing effort
              to respect the entirety of the National Voter Registration Act (“NVRA”), passed
              S.B. 442. That law provides certain tools for county officials to use to comply
              with the NVRA and remove registrations from the voter rolls under certain,
              limited, circumstances. Indiana, along with the majority of the states, participates
              in some way with the Interstate Voter Registration Crosscheck program. S.B. 442,
              far from violating the NVRA, merely permits county officials and state officials
              to carry out their duties under that law. In addition to suing the defendants for a



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              State law that complies with federal law, the plaintiffs have not sued the proper
              parties who could provide the relief the plaintiffs seek.

 III.   Pretrial Pleadings and Disclosures

        A.    The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
              November 13, 2018 November 28, 2018.

        B.    Plaintiff(s) shall file preliminary witness and exhibit lists on or before November
              20, 2018 December 5, 2018.

        C.    Defendant(s) shall file preliminary witness and exhibit lists on or before
              December 4, 2018 December 19, 2018.

        D.    All motions for leave to amend the pleadings and/or to join additional parties shall
              be filed on or before December 20, 2018.

        E.    Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
              special damages, if any, and make a settlement demand, on or before December
              20, 2018. Defendant(s) shall serve on the Plaintiff(s) (but not file with the Court)
              a response thereto within 30 days after receipt of the demand.

        F.    Except where governed by paragraph (G) below, expert witness disclosure
              deadlines shall conform to the following schedule: Plaintiff(s) shall disclose the
              name, address, and vita of any expert witness, and shall serve the report required
              by Fed. R. Civ. P. 26(a)(2) on or before May 24, 2019. Defendant(s) shall disclose
              the name, address, and vita of any expert witness, and shall serve the report
              required by Fed. R. Civ. P. 26(a)(2) 30 days after Plaintiffs serves their expert
              witness disclosure; or if Plaintiffs have disclosed no experts, Defendant(s) shall
              make its expert disclosure on or before June 21, 2019.

        G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
              expert testimony in connection with a motion for summary judgment to be filed
              by that party, such expert disclosures must be served on opposing counsel no later
              than 90 days prior to the dispositive motion deadline. If such expert disclosures
              are served the parties shall confer within 7 days to stipulate to a date for
              responsive disclosures (if any) and completion of expert discovery necessary for
              efficient resolution of the anticipated motion for summary judgment. The parties
              shall make good faith efforts to avoid requesting enlargements of the dispositive
              motions deadline and related briefing deadlines. Any proposed modifications of
              the CMP deadlines or briefing schedule must be approved by the Court.

        H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
              such objections on or before August 23, 2019. Any party who wishes to preclude
              expert witness testimony at the summary judgment stage shall file any such




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            objections with their responsive brief within the briefing schedule established by
            S.D. Ind. L.R. 56-1.

       I.   All parties shall file and serve their final witness and exhibit lists on or before 45
            days prior to the starting date of trial. This list should reflect the specific potential
            witnesses the party may call at trial. It is not sufficient for a party to simply
            incorporate by reference “any witness listed in discovery” or such general
            statements. The list of final witnesses shall include a brief synopsis of the
            expected testimony. Any listed witness who was not deposed during the discovery
            period may be deposed within 10 days of parties filing and serving final witness
            and exhibit lists. Parties will have four additional days to submit exhibits relating
            to any depositions taken under this protocol. Defendants see no need for this
            protocol which is not from the model CMP.

       J.   Any party who believes that bifurcation of discovery and/or trial is appropriate
            with respect to any issue or claim shall notify the Court as soon as practicable.

       K.   Discovery of electronically stored information (“ESI”). If either party is seeking
            the production of a substantial volume of ESI, then complete the ESI Supplement
            to the Report of the Parties’ Planning Meeting (also available in MS Word on the
            court’s website at http://www.insd.uscourts.gov/case-management-plans).

            If the parties believe that a substantial volume of ESI will not be produced in the
            case, the parties should include herein a brief description of the information
            anticipated to be sought in discovery in the case and include (1) the parties’
            agreement regarding the format in which ESI will be produced (including whether
            the production will include metadata), (2) a description of any other issues the
            parties believe may be relevant to discovery in the case, and (3) either the
            following claw back provision or the language of any alternative provision being
            proposed:

                    In the event that a document protected by the attorney-client
                    privilege, the attorney work product doctrine or other applicable
                    privilege or protection is unintentionally produced by any party to
                    this proceeding, the producing party may request that the document
                    be returned. In the event that such a request is made, all parties to
                    the litigation and their counsel shall promptly return all copies of
                    the document in their possession, custody, or control to the
                    producing party and shall not retain or make any copies of the
                    document or any documents derived from such document. The
                    producing party shall promptly identify the returned document on a
                    privilege log. The unintentional disclosure of a privileged or
                    otherwise protected document shall not constitute a waiver of the
                    privilege or protection with respect to that document or any other
                    documents involving the same or similar subject matter.




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         The parties expect to seek ESI discovery. Plaintiffs seek ESI material including, but not
         limited to, computer programs developed to process Crosscheck data, communications,
         attachments, memoranda, spreadsheets, and lists. To the extent any relevant and
         responsive material contains confidential voter information, parties will stipulate to a
         protective order to the extent permitted by law. The parties agree to produce, to the extent
         feasible, all ESI material in its original format, inclusive of metadata.

         In the event that a document protected by the attorney-client privilege, the attorney work
         product doctrine or other applicable privilege or protection is unintentionally produced by
         any party to this proceeding, the producing party may request that the document be
         returned. In the event that such a request is made, all parties to the litigation and their
         counsel shall promptly return all copies of the document in their possession, custody, or
         control to the producing party and shall not retain or make any copies of the document or
         any documents derived from such document. The producing party shall promptly identify
         the returned document on a privilege log. The unintentional disclosure of a privileged or
         otherwise protected document shall not constitute a waiver of the privilege or protection
         with respect to that document or any other documents involving the same or similar
         subject matter.

         Mindful of each party’s duty to preserve “any relevant evidence that the nonpreserving
         party knew or reasonably could foresee would be relevant to this action,” “attach[ing]
         when the plaintiff informs the defendant of her potential claim,” Haraburda v. Arcelor
         Mittal USA, Inc., Civ. No. 2:11 cv 93, 2011 WL 2600756 at *1 (N.D. Ind. June 28, 2011),
         Plaintiffs and Defendants have preserved relevant ESI materials. The parties agree to
         continue to take measures necessary to preserve relevant ESI materials, including ESI
         materials contained in servers and email accounts (both governmental and personal).
         Parties agree to notify each other in the event that materials have not been preserved.

 IV.     Discovery2 and Dispositive Motions

         Due to the time and expense involved in conducting expert witness depositions and other
         discovery, as well as preparing and resolving dispositive motions, the Court requires
         counsel to use the CMP as an opportunity to seriously explore whether this case is
         appropriate for such motions (specifically including motions for summary judgment),
         whether expert witnesses will be needed, and how long discovery should continue. To
         this end, counsel must select the track set forth below that they believe best suits this
         case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
         the CMP where indicated below; (2) indicate which track each counsel believes is most


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     The term “completed,” as used in Section IV.C, means that counsel must serve their discovery
     requests in sufficient time to receive responses before this deadline. Counsel may not serve
     discovery requests within the 30-day period before this deadline unless they seek leave of
     Court to serve a belated request and show good cause for the same. In such event, the
     proposed belated discovery request shall be filed with the motion, and the opposing party will
     receive it with service of the motion but need not respond to the same until such time as the
     Court grants the motion.


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       appropriate; and (3) provide a brief statement supporting the reasons for the track each
       counsel believes is most appropriate. If the parties are unable to agree on a track, the
       Court will pick the track it finds most appropriate, based upon the contents of the CMP
       or, if necessary, after receiving additional input at an initial pretrial conference.

       A.     Does any party believe that this case may be appropriate for summary judgment
              or other dispositive motion? If yes, the party(ies) that expect to file such a motion
              must provide a brief statement of the factual and/or legal basis for such a motion.

       Plaintiffs believe this case is appropriate for summary judgment or partial summary
       judgment. Indiana Code § 3-7-38.2-5(d)–(e), as interpreted by Defendants, violates the
       National Voter Registration Act of 1993, 52 U.S.C. §§ 20501, et seq. Defendants have
       stated that a match based on Crosscheck data is a sufficient basis to remove a voter from
       the Indiana voter roll without notice or waiting period. Defendants have also admitted
       that they do not provide any uniform guidance to county elections officials on whether
       and how to conduct further investigations to ensure that a Crosscheck-matched voter has
       in fact moved out of state, and there is uncontroverted evidence that the 92 counties in
       Indiana employ a wide range of conflicting and arbitrary practices. This is in direct
       contravention of the NVRA, and Defendants have violated the NVRA by failing to
       ensure compliance, as the chief election officials in the state.
       The defendants agree that this case is appropriate for summary judgment. S.B. 442 helps
       state and county election officials carry out their duties under the NVRA. State election
       officials, in conformity to the NVRA, will comply with S.B. 442, but the primary duty of
       removing voter registrations of individuals who have clearly moved to another state
       would fall on county officials. Accordingly, the undisputed material facts of the case will
       show that S.B. 442 complies with federal law, and, thus, judgment should be granted in
       the defendants’ favor as a matter of law.

       B.     On or before May 24, 2019, and consistent with the certification provisions of
              Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement of
              the claims or defenses it intends to prove at trial, stating specifically the legal
              theories upon which the claims or defenses are based.

       C.     Select the track that best suits this case:

                     Track 1: No dispositive motions are anticipated. All discovery shall be
              completed by               [no later than 16 months from Anchor Date]. [Note:
              Given that no dispositive motions are anticipated, the parties should consider
              accelerating discovery and other pretrial deadlines to the extent practicable and
              suggest a substantially earlier trial date (Section VI). The Court encourages a
              track faster than the standard track in all cases in which dispositive motions are
              not anticipated].

               X Track 2: Dispositive motions are expected and shall be filed by July 19, 2019;
              non-expert witness discovery and discovery relating to liability issues shall be
              completed by May 17, 2019; expert witness discovery and discovery relating to


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               damages shall be completed by June 21, 2019. All remaining discovery shall be
               completed by September 20, 2019. [Note: The Court expects this will be the
               typical track when dispositive motions are anticipated.]

                     Track 3: Dispositive motions shall be filed by             [not later than
               13 months from the Anchor Date]; non-expert discovery shall be completed by
                           ; expert witness discovery shall be completed by              .

               [Note: The Court provides Track 3 as an open option because it recognizes that
               there may be unusual cases for which special circumstances necessitate additional
               flexibility. However, the Court has found that Tracks 1 and 2 are appropriate in
               the large majority of cases, and therefore the parties must briefly state below the
               special circumstances justifying a departure from Tracks 1 and 2.]

               Absent leave of Court, and for good cause shown, all issues raised on summary
               judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

 V.     Pre-Trial/Settlement Conferences

        At any time, any party may call the Judge's Staff to request a conference, or the Court
        may sua sponte schedule a conference at any time. The presumptive time for a settlement
        conference is no later than 30 days before the close of non-expert discovery. The
        parties are encouraged to request an earlier date if they believe the assistance of the
        Magistrate Judge would be helpful in achieving settlement. The parties recommend
        a settlement conference in March 2019.

 VI.    Trial Date

        The parties request a trial date in December 2019. The trial is by Court and is anticipated
        to take five days. Counsel should indicate here the reasons that a shorter or longer track
        is appropriate. While all dates herein must be initially scheduled to match the
        presumptive trial date, if the Court agrees that a different track is appropriate, the case
        management order approving the CMP plan will indicate the number of months by which
        all or certain deadlines will be extended to match the track approved by the Court.

 VII.   Referral to Magistrate Judge

        A.     Case. At this time, all parties do not consent to refer this matter to the currently
               assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for
               all further proceedings including trial. [This section should be marked in the
               affirmative only if all parties consent. Do not indicate if some parties consent and
               some do not. Indicating the parties' consent in this paragraph may result in this
               matter being referred to the currently assigned Magistrate Judge for all further
               proceedings, including trial. It is not necessary to file a separate consent. Should
               this case be reassigned to another Magistrate Judge, any attorney or party of
               record may object within 30 days of such reassignment. If no objection is filed,



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             the consent will remain in effect.]

       B.    Motions. The parties may also consent to having the assigned Magistrate Judge
             rule on motions ordinarily handled by the District Judge, such as motions to
             dismiss, for summary judgment, or for remand. If all parties consent, they should
             file a joint stipulation to that effect. Partial consents are subject to the approval of
             the presiding district judge.

 VIII. Required Pre-Trial Preparation

       A.    TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
             parties shall:

             1.      File a list of trial witnesses, by name, who are actually expected to be
                     called to testify at trial. This list may not include any witnesses not on a
                     party’s final witness list filed pursuant to Section III.I.

             2.      Number in sequential order all exhibits, including graphs, charts and the
                     like, that will be used during the trial. Provide the Court with a list of
                     these exhibits, including a description of each exhibit and the identifying
                     designation. Make the original exhibits available for inspection by
                     opposing counsel. Stipulations as to the authenticity and admissibility of
                     exhibits are encouraged to the greatest extent possible.

             3.      Submit all stipulations of facts in writing to the Court. Stipulations are
                     always encouraged so that at trial, counsel can concentrate on relevant
                     contested facts.

             4.      A party who intends to offer any depositions into evidence during the
                     party's case in chief shall prepare and file with the Court and copy to all
                     opposing parties either:

                     a.      brief written summaries of the relevant facts in the depositions that
                             will be offered. (Because such a summary will be used in lieu of
                             the actual deposition testimony to eliminate time reading
                             depositions in a question and answer format, this is strongly
                             encouraged.); or

                     b.      if a summary is inappropriate, a document which lists the portions
                             of the deposition(s), including the specific page and line numbers,
                             that will be read, or, in the event of a video-taped deposition, the
                             portions of the deposition that will be played, designated
                             specifically by counter-numbers.

             5.      Provide all other parties and the Court with any trial briefs and motions in
                     limine, along with all proposed jury instructions, voir dire questions, and



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                        areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                        findings of fact and conclusions of law).

                  6.    Notify the Court and opposing counsel of the anticipated use of any
                        evidence presentation equipment.

          B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
                  parties shall:

                  1.    Notify opposing counsel in writing of any objections to the proposed
                        exhibits. If the parties desire a ruling on the objection prior to trial, a
                        motion should be filed noting the objection and a description and
                        designation of the exhibit, the basis of the objection, and the legal
                        authorities supporting the objection.

                  2.    If a party has an objection to the deposition summary or to a designated
                        portion of a deposition that will be offered at trial, or if a party intends to
                        offer additional portions at trial in response to the opponent's designation,
                        and the parties desire a ruling on the objection prior to trial, the party shall
                        submit the objections and counter summaries or designations to the Court
                        in writing. Any objections shall be made in the same manner as for
                        proposed exhibits. However, in the case of objections to video-taped
                        depositions, the objections shall be brought to the Court's immediate
                        attention to allow adequate time for editing of the deposition prior to trial.

                  3.    File objections to any motions in limine, proposed instructions, and voir
                        dire questions submitted by the opposing parties.

                  4.    Notify the Court and opposing counsel of requests for separation of
                        witnesses at trial.

  IX.     Other Matters


  For the Plaintiffs:                                For the Defendants:

  /s/ Jonathan Brater                                /s/ Jefferson S. Garn
  Jonathan Brater                                    Jefferson S. Garn
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 ******************************************************************************


             PARTIES APPEARED IN PERSON/BY COUNSEL ON                      FOR A
             PRETRIAL CONFERENCE.

             APPROVED AS SUBMITTED.
     X
             APPROVED AS AMENDED***SEE PART III – A, B and C***.

             APPROVED AS AMENDED PER SEPARATE ORDER.

             APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
             SHORTENED/LENGTHENED BY ______________ MONTHS.


             APPROVED, BUT THE DEADLINES SET IN SECTION(S)
             _______________ OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
             ______________ MONTHS.



     X       DISCOVERY DEADLINE SHALL BE MAY 17, 2019.



             THIS MATTER IS SET FOR TRIAL BY                ON
                       . FINAL PRETRIAL CONFERENCE IS SCHEDULED FOR
                              AT   .M., ROOM .


             A TELEPHONIC STATUS CONFERENCE IS SET IN THIS CASE FOR
             JANUARY 25, 2019 AT 10:30 A.M. (EST) before Magistrate Judge Matthew
     X
             P. Brookman. The information needed by counsel to participate in this
             telephonic conference will be provided by a separate notification.




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                 A SETTLEMENT CONFERENCE IS SET IN THIS CASE FOR
                                 AT         .M. COUNSEL SHALL APPEAR:

                                                 IN PERSON IN ROOM 316 (See attachment
                               for particulars, including description of which client(s) must
                               attend.); OR

                                             BY TELEPHONE, WITH COUNSEL FOR
                               INITIATING THE CALL TO ALL OTHER PARTIES AND
                               ADDING THE COURT JUDGE AT (____)
                               ___________________; OR

                                             BY TELEPHONE, WITH COUNSEL
                               CALLING THE JUDGE'S STAFF AT (____)
                               ___________________;


                 DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
       X
                 JULY 19, 2019.



        Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
 Order of the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and
 including dismissal or default.

        Approved and So Ordered.

 Dated: November 1, 2018




 Served electronically on all ECF-registered counsel of record.




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